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                         UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION



      AT&T CORP.,                                   )
      a New York corporation,                       )
                                                    )
      Plaintiff,                                    )
                                                    )
      v.                                            ) Civil Action No.: 22-cv-914-SDJ
                                                    )
      GOODMAN NETWORKS                              )
      INCORPORATED, a Texas domestic                )
      for-profit corporation,                       )
                                                    )
             Defendant.                             )



                   MOTION FOR ENTRY OF DEFAULT JUDGMENT

      Plaintiff AT&T Corp. (“Plaintiff” or “AT&T”), by and through undersigned

counsel and pursuant to Fed. R. Civ. P. 55(b)(2), and hereby files this Motion for

Entry of Default Judgment against Defendant Goodman Networks Incorporate

(“Defendant” or “Goodman”), and in support thereof states as follows:

                                  A. INTRODUCTION

      1.     Plaintiff is AT&T Corp.; Defendant is, Goodman Networks Incorporate.

      2.     On October 25, 2022, Plaintiff sued Defendant for breach of contract and

quantum meruit/unjust enrichment. [Dkt. No.1].

      3.     On November 1, 2022, Defendant was served with a summons and a

copy of Plaintiff’s Complaint for Breach of Contract and Quantum Meruit/Unjust

Enrichment by a process server through its registered agent for process Capitol
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Corporate Services, Inc. pursuant to Fed. R. Civ. P. 4(c). [See Affidavit of Service

attached and identified as Exhibit A.]

         3.    Pursuant to Fed. R. Civ. P. 12(a)(1)(A)(i), Defendant has failed to file a

responsive pleading or otherwise defend the suit, and the deadline to file a responsive

pleading has passed. Plaintiff is entitled to entry of default judgment.

         4.    On December 12, 2022, Plaintiff filed a Request Entry of Default to the

court clerk [Dkt. No.7].

         5.    An Entry of Default by the Clerk was executed on December 20, 2022.

[Dkt. No.8].

         6.    Due to the foregoing and in accordance with Fed. R. Civ. P. 55(b)(2),

Plaintiff is entitled to default judgment.

                                B. ARGUMENT & SUPPORT

         7.    The court clerk may enter a default against a party who has failed to

plead or otherwise defend the suit. Fed. R. Civ. P. 55(b).

         8.    The clerk should enter a default against Defendant because Defendant

did not file an answer or otherwise respond to the Complaint filed against it. [Dkt.

No.8.]

         9.    Plaintiff meets the procedural requirements for obtaining a default

judgment from the court, as demonstrated by Caleena S. Braig’s affidavit, attached as

Exhibit A.

         10.   Defendant is a civilian corporation and is not a minor or an incompetent

person.



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       11.    Because Defendant failed to file an appropriate pleading or otherwise

defend the suit, it is now entitled to entry of default judgment. Haw. Carpenters’

Trust Funds v. Stone, 794 F.2d 508, 512 (9th Cir. 1986); see Fed. R. Civ. P. 55(b).

                                      C. CONCLUSION

       12.    For these reasons, Plaintiff asks the Court for default judgment against

Defendant in the judgment amount of, but not limited to $1,443,040.92 (this total

anticipates the award of interest at the below-described rate and the award of attorney

fees and costs calculated through March 17, 2023 in the amount of $20,752.00) in

unpaid charges, shortfalls, taxes, and fees, as well as interest at the contract rate of

1.5% per month (18% per annum), or the maximum rate allowed by law, in favor of

Plaintiff, and attorney fees and costs.

       13.    For such other relief as the Court may deem appropriate under the

circumstances of this case.

Dated: March 21 st , 2023.

                                     Respectfully submitted,


                                            s/Caleena S. Braig
                                          By: Caleena S. Braig
                                          Texas State Bar #24076725
                                          Colorado State Bar #51762

                                          MOYE WHITE, LLP
                                          16 Market Square, 6th Floor
                                          1400 16th Street
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                               ATTORNEYS FOR PLAINTIFF,
                               AT&T CORP.




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                              CERTIFICATE OF SERVICE

      I hereby certify that on March 21 st , 2023 a true and correct copy of Plaintiff’s

Motion for Entry of Default Judgment has been forwarded to Defendant Goodman

Networks Incorporated’s Registered Agent by U.S. Certified Mail, Return Receipt

Requested, properly addressed as follows:

      Registered Agent for Goodman Networks Incorporated:

      Capitol Corporate Services, Inc.
      206 E. 9 th Street, Suite 1300
      Austin, TX 78701-4411


                                      /s/Caleena S. Braig
                                      Caleena S. Braig




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